               Case 2:20-cv-00887-RAJ Document 46 Filed 07/02/20 Page 1 of 3




 1                                                            THE HONORABLE RICHARD A. JONES

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 5                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 6                                        AT SEATTLE

 7
       BLACK LIVES MATTER SEATTLE-KING
 8     COUNTY, ABIE EKENEZAR, SHARON
       SAKAMOTO, MURACO KYASHNA-
 9     TOCHA, ALEXANDER WOLDEAB,                               NO. 2:20-cv-00887
       NATHALIE GRAHAM, and ALEXANDRA
10     CHEN,                                                   NOTICE OF APPEARANCE

11                                    Plaintiffs,

12     v.

13     CITY OF SEATTLE,

14                                    Defendant.

15
     TO:            Plaintiffs Above Named
16
     AND TO:        Plaintiffs’ Attorneys
17
            YOU AND EACH OF YOU will please take NOTICE that ROBERT L. CHRISTIE of
18
     CHRISTIE LAW GROUP, PLLC hereby appears on behalf of the defendant CITY OF SEATTLE in
19
     the above-entitled action and requests that all further papers and pleadings, except original process,
20
     be served upon him at the address below stated. By so appearing, defendant does not waive the
21

       NOTICE OF APPEARANCE - 1
                                                                   CHRISTIE LAW GROUP, PLLC
                                                                  2100 WESTLAKE AVENUE N., SUITE 206
                                                                         SEATTLE, WA 98109
                                                                            206-957-9669
               Case 2:20-cv-00887-RAJ Document 46 Filed 07/02/20 Page 2 of 3




 1   following affirmative defenses: lack of jurisdiction over the subject matter; lack of jurisdiction over

 2   the person; improper venue; insufficiency of process; insufficiency of service of process; failure to

 3   state a claim upon which relief may be granted; and failure to join a party under Rule 19.

 4          DATED this 2nd day of July, 2020.

 5                                                  CHRISTIE LAW GROUP, PLLC

 6
                                                    By       /s/ Robert L. Christie
 7                                                     ROBERT L. CHRISTIE, WSBA #10895
                                                       Attorney for Defendant City of Seattle
 8                                                     2100 Westlake Avenue N., Suite 206
                                                       Seattle, WA 98109
 9                                                     Phone: 206-957-9669
                                                       Email: bob@christielawgroup.com
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       NOTICE OF APPEARANCE - 2
                                                                   CHRISTIE LAW GROUP, PLLC
                                                                  2100 WESTLAKE AVENUE N., SUITE 206
                                                                         SEATTLE, WA 98109
                                                                            206-957-9669
               Case 2:20-cv-00887-RAJ Document 46 Filed 07/02/20 Page 3 of 3




 1                                    CERTIFICATE OF SERVICE

 2           I hereby certify that on July 2, 2020, I electronically filed the foregoing with the Clerk of
     the Court using the CM/ECF system, which will send notification of such filing to all counsel of
 3   record.

 4

 5                                                 CHRISTIE LAW GROUP, PLLC

 6
                                                   By       /s/ Robert L. Christie
 7                                                    ROBERT L. CHRISTIE, WSBA #10895
                                                      Attorney for Defendant City of Seattle
 8                                                    2100 Westlake Avenue N., Suite 206
                                                      Seattle, WA 98109
 9                                                    Phone: 206-957-9669
                                                      Email: bob@christielawgroup.com
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       NOTICE OF APPEARANCE - 3
                                                                  CHRISTIE LAW GROUP, PLLC
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                                                                        SEATTLE, WA 98109
                                                                           206-957-9669
